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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

ANASTASIA NEED ALLEN                                            CIVIL ACTION

VERSUS                                                          NO. 20-304

UNITED STATES POSTAL SERVICE                                    SECTION M (5)



                                        JUDGMENT

       In accordance with this Court’s Order & Reasons (R. Docs. 81) granting defendant

United States Postal Service’s motion for summary judgment,

       IT IS ORDERED, ADJUDGED, AND DECREED that there be judgment in favor of

defendant United States Postal Service DISMISSING the claims of plaintiff Anastasia Need

Allen, with prejudice.

        New Orleans, Louisiana, this 13th day of April, 2022.




                                                   ____________________________________
                                                   BARRY W. ASHE
                                                   UNITED STATES DISTRICT JUDGE
